       U.S. Department of Justice
       Federal Bureau of Prisons

PROGRAM STATEMENT
OPI:    RSD/WASPB
NUMBER: 5200.08
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Transgender Offender Manual

       /s/
Approved: M.D. Carvajal
Director, Federal Bureau of Prisons

1. PURPOSE AND SCOPE

To ensure the Bureau of Prisons (Bureau) properly identifies, tracks, and provides services to the
transgender population.

a. Program Objectives. Expected results of this program are:

■ This policy provides guidance to staff in dealing with the unique issues that arise when
  working with transgender inmates.
■ Institutions ensure transgender inmates can access programs and services that meet their
  needs as appropriate, and prepare them to return to the community.
■ Sufficient resources will be allocated to deliver appropriate services to transgender inmates.
■ Staff will complete training, enabling them to work effectively with transgender inmates.
■ To enhance staff’s understanding of the increased risk of suicide, mental health issues and
  victimization of transgender inmates.

b. Summary of Changes

Rescinded P5200.04 CN-1 Transgender Offender Manual (5/11/2018)

This reissuance incorporates the following modifications:

■ Clarified duties and responsibilities of various staff.
■ Added an institution requirement for maintaining a copy of the Case Management Activity
  (CMA) Assignment form BP-A1110, Consent Form for Transgender Inmates. Inmates can
  no longer request to have a CMA assignment removed, and then re-added at a later date.
■ Clarified transfer, consultation, and program requirements.
■ Updated guidance regarding initial designation and redesignation procedures for transgender
  offenders.
■ Added information about gender affirming surgery.

c. Institution Supplement. None required. Should local facilities make any changes outside
changes required in national policy or establish any additional local procedures to implement
national policy, the local Union may invoke to negotiate procedures or appropriate arrangements.

2. DEFINITIONS

Gender – a construct used to classify a person as male, female, both, or neither. Gender
encompasses aspects of social identity, psychological identity, and human behavior.

Gender identity – a person’s sense of their own gender, which is communicated to others by their
gender expression.

Gender expression – includes mannerisms, clothing, hairstyle, and choice of activities.

Gender nonconforming – a person whose appearance or manner does not conform to traditional
societal gender expectations.

Transgender – the state of one’s gender identity not matching one’s sex assigned at birth. For the
purposes of this policy, a transgender inmate is one who has met with a Bureau Psychologist and
signed the form indicating consent to be identified within the agency as transgender. This step
allows accommodations to be considered.

Cisgender – the state of one’s gender identity matching one’s sex assigned at birth.

Sexual orientation – the direction of one’s sexual interest towards members of the same,
opposite, or both genders (e.g., heterosexual, homosexual, bisexual, asexual). Sexual orientation
and gender identity are not related.

Gender Dysphoria (GD) – a mental health diagnosis currently defined by DSM-5 as, “A strong
and persistent cross-gender identification. It is manifested by a stated desire to be the opposite
sex and persistent discomfort with his or her biologically assigned sex.” Not all transgender
inmates will have a diagnosis of GD, and a diagnosis of GD is not required for an individual to
be provided services.

Intersex – a person whose sexual or reproductive anatomy or chromosomal pattern does not seem
to fit typical physiological definitions of male or female. Not all intersex people identify as




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transgender; unless otherwise specified, this policy does not apply to intersex people who do not
identify as transgender.

Transition – measures that change one’s gender expression or body to better reflect a person’s
gender identity.

Gender Affirming – describes behaviors or interventions that support the gender identity of a
person.

3. STAFF RESPONSIBILITIES

The following Bureau components are responsible for ensuring consistent establishment of the
programs, services, and resource allocations necessary for transgender offenders.

a. Central Office

(1) The Women and Special Populations Branch (WASPB) is the agency’s primary source
and point of contact on accommodation/transition, classification, management, and
intervention/treatment programs and practices for transgender inmates in Bureau custody. The
Branch is responsible for the following functions as they relate to transgender inmates:

■ Engaging stakeholders, including serving as the primary point of contact on issues affecting
  transgender inmates with external entities including judges, congress, and advocacy groups.
■ Ensuring the Bureau offers appropriate services to transgender inmates.
■ Preparing budget requests to deliver national and pilot programs or services affecting
  transgender inmates.
■ Providing guidance and direction to staff and institution, region, and agency leadership on
  transgender issues.
■ Developing and implementing staff training on transgender issues.
■ Building a research-based foundation for the Bureau’s work with transgender inmates,
  including implementation support and intervention services.
■ Presenting at internal and external conferences/events regarding the agency’s transgender
  inmates’ practices.
■ Developing and monitoring monthly reports on the transgender population and institutional
  programs.
■ Conducting an annual survey of transgender inmates in the Bureau and sharing results with
  internal and external stakeholders.
■ Providing national oversight of pilot programs and initiatives serving transgender offenders.
■ Overseeing the Transgender Executive Council (TEC).
■ Ensure that a National Program and Policy Coordinator is assigned to each Region who will
  meet quarterly to discuss staffing and programming needs of transgender inmates.



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(2) The Health Services Division oversees all medical and psychiatric guidance and treatment
as it applies to transgender inmates. Clinical guidance on the most current research-driven
clinical medical and psychiatric care of transgender inmates will be provided at the direction of
the Medical Director. The Medical Director only receives referrals from the TEC and determines
whether gender affirming surgery requests will be referred to a surgeon.

(3) The Psychology Services Branch oversees all mental health programs and services as they
apply to transgender inmates, to include providing advice and guidance on identification and
evaluation of transgender inmates, and making recommendations for treatment needs of
transgender inmates and/or inmates with GD.

(4) Central Office Branches of Correctional Services, Psychology Services, Education,
Correctional Programs, Reentry Affairs, Residential Reentry Management, Health Programs,
Litigation, Chaplaincy Services, Intelligence and Counter Terrorism Branch, and Trust Fund
meet annually with the Women and Special Populations Branch to discuss transgender
population needs and evaluate current gender-responsive services. The National Union and the
Central Office LGBT Special Emphasis Program Manager will be invited to attend these
meetings.

(5) The Transgender Executive Council (TEC) will consist of senior level staff members (GS-
14 and above) from the Women and Special Populations Branch, the Psychology Services
Branch, Health Services Division, and the Designation and Sentence Computation Center
(DSCC). The team is led by the Senior Deputy Assistant Director, Reentry Services and also
includes the Senior Deputy Assistant Director, Correctional Programs Division (DSCC), and the
Senior Deputy Assistant Director, Health Services. The TEC is the agency’s official decision-
making body on all issues affecting the transgender population. It will meet a minimum of
monthly to offer advice and guidance on unique measures related to treatment and management
needs of transgender inmates and/or inmates with GD, including training, designation issues, and
reviewing all transfers for approval. Staff or inmates may raise issues on specific inmates to the
TEC through the Women and Special Populations Branch. The Office of General Counsel is
consulted as needed.

b. Regional Offices

■ Provide oversight to institutions regarding services and other relevant trends managing
  transgender inmates.

c. Institutions

The Warden will establish a multi-disciplinary approach to the management of transgender
inmates. The Associate Warden of Programs is the primary point of contact in the institution for
transgender issues and will consult as needed with the Chief Psychologist, Captain, Clinical

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Director, Unit Manager, or other individuals as appropriate; and specifically to:
■ Ensure transgender inmates have access to services.
■ Enter tracking information for self-identified transgender inmates by updating SENTRY
   CMA assignments and other databases (e.g., PDS).
■ Maintain a copy of the Case Management Activity (CMA) SENTRY Assignment Consent
   Form for Transgender Inmates (BP-A1110) in the Central File and Psychology Data System
   (PDS).
■ Provide appropriate reentry resources that may be specific to the population.
■ Advise the Local Union of transgender inmate management issues.
■ Consult and refer transgender inmates to the TEC.
■ Provide programming developed by the Reentry Services Division for transgender inmates.

4. STAFF TRAINING

Staff are provided specialized training in working with unique issues when managing
transgender inmates as part of annual training. Institutions housing transgender inmates should
provide additional training.

The Women and Special Populations Branch is responsible for developing training materials and
current information on the management of transgender inmates. This information will be made
available to staff via the Bureau’s intranet.

In addition, the Prison Rape Elimination Act (PREA) regulations incorporated into the BOP
Program Statement, Sexually Abusive Behavior Prevention and Intervention Program have
training requirements concerning pat searches and communication skills for transgender inmates.
See 28 C.F.R. § 115.15(f) and 115.31 (a) (9). Please refer to this Program Statement regarding
implementation of those training requirements.

Staff will be provided adequate time to complete these trainings during duty hours. Staff will be
provided proper relief to complete the training.

5. INITIAL DESIGNATIONS

The PREA regulations (section 28 C.F.R. § 115.42 (c)), incorporated into the Program Statement
Sexually Abusive Behavior Prevention and Intervention Program, state:

“In deciding whether to assign a transgender or intersex inmate to a facility for male or
female inmates…the agency shall consider on a case-by-case basis whether a placement
would ensure the inmate’s health and safety, and whether the placement would present
management or security problems.”

Upon receipt of information from a Pre-Sentence Report, court order, U.S. Attorney’s Office,
defense counsel, the offender, or other source that an individual entering BOP custody is

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transgender or intersex, designations staff will refer the matter to the TEC.

Institution staff managing pretrial or holdover offenders must also refer cases to the TEC for
review. Any TEC recommendations concerning pretrial inmates will be coordinated with the
appropriate United States Marshals Service District Office.

The TEC will consider factors including, but not limited to, an inmate’s security level, criminal
and behavioral/disciplinary history, current gender expression, programming, medical, and
mental health needs/information, vulnerability to sexual victimization, and likelihood of
perpetrating abuse. The TEC may also consider facility-specific factors, including inmate
populations, staffing patterns, and physical layouts (e.g., types of showers available). The TEC
will consider the wellbeing of all inmates while exploring appropriate options available to assist
with mitigating risk to the inmate, to include but not limited to cell and/or unit assignments,
application of management variables, programming missions of the facility, and security of the
institution.

It will be documented on all SENTRY designation notes for transgender inmates that the TEC
reviewed the inmate for appropriate institution designation.

6. HOUSING AND PROGRAMMING ASSIGNMENTS

During Initial Classification and subsequent Program Reviews, unit management staff will
review the inmate’s current housing unit status and programming available for transgender
inmates. This review will be documented by Unit Management staff in the inmate central file and
for holdovers in the holdover file, with institution oversight by the Associate Warden.

The reviews will consider on a case-by-case basis that the inmate placement does not jeopardize
the inmate’s wellbeing and does not present management or security concerns.

In making housing unit and programming assignments, a transgender or intersex inmate’s own
views with respect to his/her own safety must be given serious consideration.

Transgender inmates shall be given the opportunity to shower separate from other inmates when
individual shower stalls are unavailable.

The agency shall not place transgender or intersex inmates in dedicated facilities, units, or wings
solely on the basis of such identification or status. The only exception is if such placement is in
a dedicated facility, unit, or wing established in connection with a consent decree, legal
settlement, or legal judgment for the purpose of protecting such inmates.

Wardens will consult with WASPB prior to submitting a designation request to the DSCC for the
redesignation of transgender inmates when the designation is related to the individual’s

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transition. The DSCC and Office of Medical Designations will consult with WASPB prior to the
designation or redesignation of all transgender inmates.

In situations where the transfer request is related to progressing the individual inmate’s transition
(i.e., transfer to a different sex facility) the TEC will consider the case. Prior to considering the
case, the Warden will submit documentation to the TEC showing the inmate has met the
minimum standards of compliance with programs, medications and mental health treatment, and
meeting hormone goal levels. Ordinarily, inmates will not be submitted to the TEC for
consideration until they have maintained one year clear conduct for 100 and 200 series incident
report sanctions, though they may be considered for submission on a case-by-case basis by the
Warden, as appropriate.

It will be noted in all SENTRY designation notes that the TEC reviewed the inmate for
appropriate institution designation.

7. DOCUMENTATION AND SENTRY ASSIGNMENTS

The PREA regulations in 28 C.F.R. part 115, Subpart A, incorporated into the Program
Statement Sexually Abusive Behavior Prevention and Intervention Program and the Program
Statement Intake Screening, address intake screening. Screening of transgender inmates will be
conducted in accordance with these policies and all other applicable policies and procedures.

a. Medical and Mental Health Information. Medical and mental health information for
transgender inmates will be maintained in the current electronic recordkeeping system or health
record system in accordance with the Program Statements Health Information Management
and Psychology Services Manual. Medical and mental health information is considered
confidential, and may only be released in accordance with appropriate laws, rules, and
regulations.

b. Initial Screening. For initial designations, staff will assign Case Management Activity
(CMA) SENTRY assignments if information in the PSR or other documentation indicates a
likely transgender identity. The screening codes are:

SCRN M2F – inmate should be screened for male to female transgender identification.
SCRN F2M – inmate should be screened for female to male transgender identification.

Any inmate arriving at the designated institution with a screening code is to be referred to the
Chief Psychologist or designee for review within 14 days. If the code was assigned in error, the
screening code will be removed by the Psychologist. If the inmate identifies as transgender, the
psychologist will replace the screening code with an identifying code, as indicated below.
Holdover facilities are exempt from this initial screening requirement, as limited available


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records and brevity of stay do not typically allow for a comprehensive screening.

Any inmate who arrives without a screening code but identifies as transgender during intake, or
at any time during the incarceration period, is referred to the Chief Psychologist or designee and
interviewed within 14 days of the inmate notification. Inmates in pretrial status at Bureau
facilities may also receive a transgender screening CMA SENTRY assignment.

c. Notification to Staff and Tracking. After consultation with Psychology Services, and if the
inmate affirms his/her transgender identity, the screening code will be updated to a permanent
assignment by a Psychologist:

TRN M2F – inmate identifies as male to female transgender (transgender female).
TRN F2M – inmate identifies as female to male transgender (transgender male).

The inmate must request to Psychology Services staff that the Case Management Activity
(CMA) assignment be entered, and the inmate consents that all staff will therefore be notified
that the individual is transgender. The inmate’s request will be documented on a Case
Management Activity (CMA) SENTRY Assignment Consent Form for Transgender Inmates
(BP-A1110). Psychology Services shall maintain the form in the electronic mental health record.

Staff should consult the transgender CMA assignment when interacting with the inmate; e.g., use
of pronouns and access to accommodations. All inmates have access to transgender treatment,
regardless of assignment.

If there are questions about the need to continue a CMA assignment, the Warden will contact the
WASPB. Inmates may request in writing to have CMA assignments removed. If this occurs,
ordinarily the assignment will not be re-added at a later date.

8. HORMONE THERAPY AND MEDICAL TREATMENT

Hormone therapy or other medical treatment may be provided after an individualized assessment
of the requested inmate by institution medical staff. Medical staff will request consultation from
Psychology Services regarding the mental health benefits of hormone or other medical treatment.
If appropriate for the inmate, hormone treatment will be provided in accordance with the
Program Statement Patient Care and relevant Clinical Guidance. Questions concerning
hormone treatment may be referred to the WASPB or the Health Services Division.

In the event this treatment changes the inmate’s appearance to the extent a new identification
card is needed, the inmate will not be charged for the identification card as is standard practice.




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9. SURGERY

While not all inmates who identify as transgender may be interested in seeking surgical
intervention, such a decision does not preclude them from obtaining other accommodations as
described in this Program Statement. For transgender inmates in Bureau custody, surgery may be
the final stage in the transition process and is generally considered only after one year of clear
conduct and compliance with mental health, medical, and programming services at the gender
affirming facility. Once that period elapses, an inmate may submit a request to his or her Warden
requesting surgical consideration. The Warden will forward the request to the TEC. The TEC is
the sole body who may determine that all milestones and individual goals for surgical
consideration have been met. When this occurs, the case is referred to the agency’s Medical
Director for medical consideration. He or she may review existing records and/or interview the
inmate, institution staff, and members of the TEC. After this individualized assessment, the
Medical Director will determine if the surgery is medically appropriate for referral to a gender
affirming surgeon.

10. OTHER MENTAL HEALTH SERVICES

Bureau Psychologists provide assessment and treatment services for transgender inmates, as
appropriate. Guidance on assessment procedures is available on the Psychology Services intranet
page.

If an inmate identifies as transgender, the Psychologist will provide the inmate with information
regarding the range of treatment options available in the Bureau and their implications. In
addition, based upon the Psychologist’s preliminary assessment and the inmate’s expressed
interest, a referral to the Clinical Director and/or Chief Psychiatrist may be generated. While the
initial interview must be scheduled within 14 days, an assessment may take longer in some
instances.

In addition to a referral for medical services, a transgender inmate may be offered individual
psychotherapy. Individual psychotherapy goals might include: (1) helping the inmate to live
more comfortably within a gender identity and deal effectively with non-gender issues; (2)
emphasizing the need to set realistic life goals related to daily living, work, and relationships,
including family of origin; (3) seeking to define and address issues that may have undermined a
stable lifestyle, such as substance abuse and/or criminality; and (4) addressing any co-occurring
mental health issues. Mood disorders, anxiety disorders, substance use disorders, and personality
disorders, etc., may also be present; any effective treatment plan will fully address these
symptoms. Group treatment may also be recommended.

Common concerns of transgender inmates, which can be addressed effectively in a group setting,
include self-esteem issues and relationship issues.


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Psychologists who provide mental health treatment for transgender inmates address all mental
health needs, including suicide risk, if present. If an inmate who identifies as a transgender
harms, attempts to remove, or removes his or her genitalia or other gender-specific anatomy, a
suicide risk assessment is conducted consistent with the Program Statement, Suicide Prevention
Program. In addition, the treating psychologist notifies the Chief Psychologist who in turn
notifies the Regional Psychology Services Administrator and the Psychology Services Branch.

Psychologists working with transgender inmates are encouraged to consult the Reentry Services
Division in Central Office for additional resources.

11. SPECIAL POPULATIONS SERVICES

Some facilities have Special Populations Coordinators on staff. These individuals are responsible
for delivering First Step Act and other programs, which includes programs developed
specifically for inmates who identify as transgender. In the absence of such staff, the Warden
will seek consultation from WASPB regarding the delivery of group interventions and services.

12. PRONOUNS AND NAMES

Staff interacting with inmates who have a CMA assignment of transgender, shall either use the
authorized gender-neutral communication with inmates (e.g., by the legal last name or “Inmate”
last name) or the pronouns associated with the inmate’s identified gender. Deliberately and
repeatedly mis-gendering an inmate is not permitted.

The name entered on the inmate’s Judgment and Commitment Order is the official committed
name for all Bureau records (incident reports, progress reviews, sentence calculations, etc.). An
official committed name change while in BOP custody must be done consistent with the Program
Statement Correctional Systems Manual. Any additional names or aliases should be entered
into SENTRY, as appropriate.

13. PAT SEARCH ACCOMMODATIONS

Pat searches of transgender inmates will be conducted in accordance with the Program Statement
Searches of Housing Units, Inmates, and Inmate Work Areas.

Pat search information refers only to individuals at male facilities who identify as female. The
Bureau does not offer “male only” pat searches.

Unless there is a history of inappropriate sexual behavior suggesting approval poses risks to
staff, requests are ordinarily approved by the Warden’s Office. Inmates may request denials be
reviewed by the TEC through the Administrative Remedy Program. Inmates who are granted
this exception under policy may have it reversed by the Warden if found to have violated

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institution rules concerning contraband.

In exigent circumstances, any staff member may conduct a pat search of any inmate consistent
with the Program Statement Searches of Housing Units, Inmates, and Inmate Work Areas.

14. VISUAL SEARCHES

For purposes of a visual search, inmates will be searched in accordance with the gender of the
institution, or housing assignment, to which they are assigned. The visual search shall be made
in a manner designed to ensure as much privacy to the inmate as practicable. Staff should
consider the physical layout of the institution, and the characteristics of an inmate with a
transgender CMA assignment, to adjust conditions of the visual search as needed for the
inmate’s privacy.

Transgender inmates may also request an exception to be visually searched by a staff member of
the inmate’s identified gender. The exception must be pre-authorized by the Warden, after
consultation with staff from Health Services, Psychology Services, Unit Management, and
Correctional Services. Exceptions must be specifically described (e.g., “visual search only by
female staff”), clearly communicated to relevant staff through a memorandum, and reflected in
SENTRY (or other Bureau database). Inmates should be provided a personal identifier (e.g.,
notation on identification, etc.) that indicates their individual exception, to be carried at all times
and presented to staff prior to visual searches.

Inmates request an exception by submitting an Inmate Request to Staff (BP-A0148) to the
Warden. The Warden will consult with the departments listed above, and the memo approving
or denying the request will be generated by the Warden’s Office. Inmates may request denials be
reviewed by the TEC through the Administrative Remedy Program. Inmates who are granted
this exception may have it reversed by the Warden if found to have violated institution rules
concerning contraband.

Transgender inmates placed at an institution or in a housing unit that does not correspond with
their identified gender, and who are granted an exemption as indicated above, will be searched
by staff of the inmate’s identified gender who consent to participate in the search, or Health
Services clinical staff.

Transgender inmates placed at an institution or in a housing unit of their identified gender will be
searched by staff of the inmate’s identified gender who consent to participate in the search or
medical staff.

Institutions should consider using available body scanning technology in lieu of visual searches
of transgender inmates.


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In exigent circumstances, any staff member may conduct a visual search of any inmate consistent
with the Program Statement Searches of Housing Units, Inmates, and Inmate Work Areas.

15. CLOTHING, COMMISSARY ITEMS, AND OTHER ACCOMMODATIONS

Consistent with safety and security concerns, inmates with the CMA assignment of transgender
will have the opportunity to have undergarments of their identified gender even if they are not
housed with inmates of the identified gender. Institutional laundry will have available
institutional undergarments that fulfill the needs of transgender inmates. Undergarments will not
have metal components.

Standardized lists of Commissary items for transgender inmates are available in accordance with
the Program Statement Trust Fund/Deposit Manual and the information on the RSD intranet
page.

Additional items based on an individualized assessment of the transgender inmate population
may be approved by the Warden. Additional items may be provided by the institution or
purchased by the inmate, as appropriate. Any concerns regarding such items are directed to the
WASPB.

Inmates who purchase and/or are provided items under this section will be subject to disciplinary
sanctions, including the removal of these items, if they are found to have violated institution
rules relating to the possession of these items.

Any other accommodation requests are discussed with the TEC through the WASPB.

16. REENTRY NEEDS

In accordance with the Program Statement Release Preparation Program, institution staff assist
transgender inmates in addressing reentry issues prior to release or placement in a Residential
Reentry Center/Home Confinement.

During Initial Classification and Program Reviews, unit management formulates a pre-release
plan that assists transgender inmates in obtaining identification, finding housing and
employment, and providing community resources to assist with reintegration into the
community.

The Reentry Affairs Coordinator will assist staff with identifying these resources. Community
Treatment Services staff or Institution and/or Regional Social Workers may be contacted
concerning the continuity of medical care.

The WASPB can be contacted to provide guidance and resources for any additional reentry

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needs of transgender inmates. All accommodation and treatment decisions for inmates in
community custody are made by the Residential Reentry Management Branch in consultation
with the TEC.

17. ADMINISTRATIVE REMEDIES

Inmates who wish to seek formal review of any issue relating to this policy may use the
procedures in the Program Statement Administrative Remedy Program.

REFERENCES

Program Statements
P1330.18      Administrative Remedy Program (1/6/14)
P4500.12      Trust Fund/Deposit Fund Manual (3/15/18)
P5100.08      Security Designation and Custody Classification Manual (9/4/19)
P5290.15      Intake Screening (3/30/09)
P5310.17      Psychology Services Manual (08/25/16)
P5310.16      Treatment and Care of Inmates with Mental Illness (5/1/14)
P5322.13      Inmate Classification and Program Review (5/16/14)
P5324.08      Suicide Prevention (4/5/07)
P5324.12      Sexually Abusive Behavior Prevention and Intervention Program (6/4/15)
P5325.07      Release Preparation Program (8/15/19)
P5521.06      Searches of Housing Units, Inmates, and Inmate Work Areas (6/4/15)
P5800.15      Correctional Systems Manual (9/23/16)
P6031.04      Patient Care (6/3/14)
P6090.04      Health Information Management (3/2/15)

Federal Regulations
28 CFR part 115

Additional Resources For Clinicians
Diagnostic and Statistical Manual of Mental Disorders (DSM), most current version. World
Professional Association for Transgender Health (WPATH) standards.

ACA Standards

■ American Correctional Association Standards for Adult Correctional Institutions, 5th
Edition: 5-ACI-1C-09, 5-ACI-1D-12, 5-ACI-1D-13, 5-ACI-2C-02, 5-ACI-1D-08, 5-ACI-3D-05,
5-ACI-3D-08(M), 5-ACI-3D-09, 5-ACI-3D-10, 5-ACI-3D-11, 5-ACI-3D-12, 5-ACI-3D-13, 5-
ACI-3D-14, 5-ACI-3D-15, 5-ACI-3D-16, 5-ACI-6A-21(M), 5-ACI-6A-32(M), 5-ACI-6C-14(M)
■ American Correctional Association Performance Based Standards for Adult Local Detention
Facilities, 4th Edition: 4-ALDF-2A-29, 4-ALDF-2A-32, 4-ALDF-2A-34, 4-ALDF-6B-03,
4-ALDF-2C-03, 4-ALDF-4C-22M, 4-ALDF-4C-30M, 4-ALDF-4D-22, 4-ALDF-4D-22-1, 4-

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ALDF-4D-22-2, 4-ALDF-4D-22-3, 4-ALDF-4D-22-4, 4-ALDF-4D-22-5, 4-ALDF-4D-22-
6M, 4-ALDF-4D-22-7, 4-ALDF-4D-22-8, 4-ALDF-7B-08, 4-ALDF-7B-10, 4-ALDF-7B-10-
1.
■ American Correctional Association Standards for Administration of Correctional Agencies,
2nd Edition: None.
■ American Correctional Association Standards for Correctional Training Academies: None.

Records Retention
Requirements and retention guidance for records and information applicable to this program are
available in the Records and Information Disposition Schedule (RIDS) on Sallyport.




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